
661 S.E.2d 739 (2008)
Thomas W. HILL
v.
Garford Tony HILL, Jewel Anne Hill, and the Estate of Sadie C. Hill.
No. 138P06-3.
Supreme Court of North Carolina.
April 10, 2008.

ORDER
Upon consideration of the petition filed by Plaintiff on the 18th day of July 2007 for rehearing of the decision of this Court pursuant to Rule 31, N.C. Rules of Appellate Procedure, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 10th day of April 2008."
MARTIN and TIMMONS-GOODSON, JJ., recused.
